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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                    No. 2:04-CR-0104-JAM-CMK

12                  Respondent,

13          vs.                                   ORDER

14   MARK STEVEN ERCKERT,

15                  Movant.

16                                       /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255.

19                  Movant filed his § 2255 motion on September 21, 2009. Respondent filed its

20   opposition on January 15, 2010. On October 11, 2011, the court denied movant’s motion for

21   appointment of counsel and movant filed an interlocutory appeal. That appeal was dismissed by

22   the Ninth Circuit Court of Appeals on February 21, 2012, for lack of appellate jurisdiction and

23   the mandate issued on April 10, 2012.

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 1                   Jurisdiction having now been returned to this court, the court hereby sets a due

 2   date for movant’s optional reply brief. Movant may file an optional reply brief within 30 days of

 3   the date of this order.

 4                   IT IS SO ORDERED.

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 6    DATED: October 9, 2012
 7                                                  ______________________________________
                                                    CRAIG M. KELLISON
 8                                                  UNITED STATES MAGISTRATE JUDGE
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